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                                         ORDERED.

      Dated: May 08, 2019




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
In Re:

LISA DUTTON LOVE,                                                Case No. 6:19-bk-01568-CCJ

      Debtor                                                     Chapter 7
________________________________/

 AGREED ORDER GRANTING U.S. BANK TRUST, N.A., AS TRUSTEE FOR LSF11
MASTER PARTICIPATION TRUST RELIEF FROM AUTOMATIC STAY EFFECTIVE
                      AFTER 90 DAYS (Doc. 14)

         THIS CASE came on for consideration on the Motion for Relief from Stay filed by U.S.

Bank Trust, N.A., as Trustee for LSF11 Master Participation Trust (Document No. 14).       The

parties are in agreement to the entry of this Order, it is

         ORDERED:

         1.     The Motion (Doc. No. 14) is granted.

         2.     The automatic stay arising by reason of 11 U.S.C. Section 362 of the Bankruptcy

Code is terminated after 90 days from the date of entry of this Order as to Movant's interest

in the following property:

              THE LAND REFERRED TO IN THIS COMMITMENT IS DESCRIBED AS
              FOLLOWS:
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             ALL THAT CERTAIN LAND IN LAKE COUNTY, STATE OF FLORIDA,
             VIZ:

             THE EAST 605.00 FEET OF THE NORTHWEST 1/4 OF THE NORTHEAST
             1/4 OF SECTION 18, TOWNSHIP 19 SOUTH, RANGE 28 EAST, LAKE
             COUNTY, FLORIDA.

             COMMONLY KNOWN AS: 24700 WALKABOUT RANCH ROAD,
             SORRENTO, FL 32778

                a/k/a 24700 WALKABOUT RANCH ROAD
                SORRENTO, FL 32776

       3.       The automatic stay is modified for the sole purpose of allowing Movant to

complete in rem relief, to take any and all the steps necessary to exercise any and all rights it

may have in the collateral, to gain possession of said collateral, to have such other and further in

rem relief as is just, but the Movant shall not obtain in personam relief against the debtor.

       4.       The Movant's request to waive the 14-day stay period pursuant to Bankruptcy

Rule 4001(a)(3) is granted.

       5.       Attorney's fees and costs of up to $526.00 are hereby awarded for prosecution of

the Motion.




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       6.      This Court makes no determination that the Debtor(s) have/has defaulted on the

underlying obligation.

                                              ###


/s/Stefan Beuge                                        /s/Arvind Mahendru____
Stefan Beuge, Esq., Florida Bar No. 68234                Arvind Mahendru, ESQ.
Phelan Hallinan Diamond & Jones, PLLC                    Chapter 7 Trustee
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Order prepared by:
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Attorney Stefan Beuge, Esq., Florida Bar No. 68234 is directed to serve a copy of this order on
interested parties who are non-CM/ECF users and file a proof of service within 3 days of entry of
the order.




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